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IN THE UNITED STATES DISTRICT COURT ' ’M
FOR THE wESTERN DISTRICT 0F TENNESSEE

 

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EQUAL EMPLOYMENT oPPoRTUNITY \mo_@pyw,MEMMNS
COMMISSION, and
CONSTANCE AMOS,
Plaintiffs,
VS- NO. 00-2923-Ma

AUTOZONE, INC.,

Defendant.

 

ORDER GRANTING MOTION TO EXTEND TIME

 

Before the court is defendant’s June 16, 2005, unopposed
oral motion requesting additional time Within which to file a
motion for summary judgment. For good cause shown, the motion is
granted. The defendant shall have to and including July 8, 2005,
Within Whioh to file a motion for summary judgment. A response
by plaintiffs will be due by July 22, 2005. Trial remains set
for August 15, 2005.

lt is so ORDERED this r?“;day of June, 2005.

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

with F\U"B 58 an .

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 234 in
case 2:00-CV-02923 Was distributed by faX, mail, or direct printing on
June 20, 2005 to the parties listed.

 

 

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Honorable Samuel Mays
US DISTRICT COURT

